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    22-1481
    UNITED STATES COURT OF APPEALS
                                                    22-1982 (con)

                                   for the

                     SECOND CIRCUIT
                  ______________________________________

                    UNITED STATES OF AMERICA,
                                                             Appellee,
                                    -v.-

                     ROBERT SYLVESTER KELLY
                          AKA R. KELLY
                                                            Defendant-Appellant.
                         ________________________

      ON APPEAL FROM THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF NEW YORK

REPLY BRIEF FOR DEFENDANT-APPELLANT ROBERT SYLVESTER KELLY
     ________________________________________________________


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                                   ARGUMENT

I.    The Government Failed to Prove Defendant Guilty of Racketeering

      Where the Record is Devoid Of Evidence Of an Enterprise Comprised

      of Members Who Shared A Common Illegal or Fraudulent Purpose and

      Where the Defendant and the Alleged Enterprise Were Indistinct.

      The government largely concedes that it did not prove beyond a reasonable

doubt that Defendant's "inner circle" shared a common purpose to engage in a

fraudulent or illegal course of conduct. Instead, the government makes a frivolous

waiver argument and insists that it was never required to prove a common purpose

of illicit conduct in the first place, even though the indictment charged it. The

government now seeks to constructively amend the indictment to remove an

essential element of its enterprise theory to circumvent its proof problems.

      The government makes virtually no effort to address Defendant's separate

contention that evidence of an enterprise was insufficient where Defendant and the

alleged enterprise were indistinct. The government's evidence at its best shows

only that Defendant used his status and authority to engage his employees in

routine (sometimes odd) tasks that unwittingly facilitated his private sexual

activities. That the government suspects that some of Defendant's employees

"turned a blind eye" or knew more than they let on is not sufficient evidence that

the members of the so-called enterprise shared a common purpose of promoting



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Defendant's illegal sexual conduct - a necessary element to the charged RICO

offense.

      A.     The Jury Instructions Were Not Deficient - The Evidence Was.

      Preliminarily, the government did not argue below that Defendant's Rule 29

challenge to the government's evidence of an enterprise was misplaced and that his

objection was actually to the court's jury instructions. More importantly, the

District Court concluded that the question of whether an enterprise was proven

beyond a reasonable doubt was a proper Rule 29 claim. The government's attempt

to recast this sufficiency of the evidence challenge as a defective jury instruction

issue is specious. Having proposed the jury instructions, the government knows

that they accurately stated the law, that they included that government's theory of

an illicit common purpose, and most importantly, that they told the jury that the

government was required to prove an enterprise as charged in the indictment. The

problem is not with the instructions - it is with the proofs.

      Critically, the government fails to acknowledge that the jury instructions

incorporated language from the third superseding indictment, including the

government's claim that the common purpose of the enterprise was to engage in an

illegal common purpose. In the instruction setting forth the "existence of an

enterprise" the jury was expressly instructed that the indictment alleged that "the

purposes of the Enterprise were to promote R. Kelly's music and the R. Kelly



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brand, to recruit women and girls to engage in illegal sexual activity with KELLY

and to produce pornography, including child pornography." [DE 303 at pg. 24] The

instruction also told the jury that although the government is not required to prove

each and every allegation about the enterprise, "[t]he enterprise proved . . . must be

essentially the one alleged in the indictment." [Id. at pg. 29] In other words, the

government conceded that it was required to prove that Defendant's employees or

so-called "inner circle" shared a common purpose to engage in illegal or illicit

conduct, namely "to recruit women and girls to engage in illegal sexual activity

with KELLY and to produce pornography, including child pornography."

      The government pretends that it never charged an illegal common purpose,

pompously declaring, "the parties' proposed instructions, adopted by the district

court, set a benchmark for the government to meet; the government met the mark;

and Kelly now objects that the government did not instruct sufficient evidence for

the jury to find that another, previously unspecified required was met." (Gov. Br.

41) Defendant agrees that the jury instructions "set a benchmark for the

government to meet." One of those benchmarks was to prove beyond a reasonable

doubt that the common purpose of the enterprise was to promote Defendant's

illegal sexual activity. The government failed to meet that benchmark. Defendant

did not introduce a new "unspecified" requirement. Rather, the illicit common

purpose element was charged, set forth in the jury instructions, and the jury was



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instructed that the government was required to prove the enterprise as charged.

The government simply failed to prove the charged enterprise theory.

      By arguing that it was never required to prove a common purpose of

illegality as the indictment charged, the government is attempting to constructively

amend the indictment on appeal to remove that essential element of the RICO

enterprise theory. A constructive amendment occurs when the evidence presented

at trial alters the essential elements of the charges specified in the indictment.

United States v. Dove, 2018 U.S. App. LEXIS 5685, *12 (2d Cir. 2018). The

indictment here alleged that a common purpose of the enterprise was to promote

Defendant's illegal sexual conduct. That the government now claims that it was

never required to prove the illegal common purpose is nothing more than an

unconstitutional constructive amendment to the indictment.

       The government alternatively argues that "even if Kelly's brief challenging

the sufficiency of the evidence were interpreted to challenge the jury instructions . .

." the error is not plain error. There is no error in the jury instructions, plain or

otherwise. The jury was expressly told that the government was duty-bound to

prove its charged theory of an enterprise which included a theory that the common

purpose of the enterprise was to promote illegal sexual conduct - not merely

promote Defendant's music. The government failed to prove its theory of an

enterprise and the conviction must now be reversed. The government can cite to no



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authority that allows it to amend the indictment on appeal to fundamentally alter its

theory of the purpose of the enterprise.

      B.     An Enterprise Requires a Shared Purpose of Fraudulent or

             Illegality as the Government Charged in Its Indictment.

      The government contends that it was not required to prove a shared illegal or

fraudulent course of conduct. (Gov. Br. at 42) This position by the government

represents a profound change of heart where it charged Defendant with an

enterprise that had a common purpose of an illegal course of conduct and then

instructed the jury that it was required to prove that illegal common purpose. As

argued above, the government was required to prove its theory of a common

purpose as pled in the indictment and as set forth in the jury instructions.

      Recognizing that its proof of a common purpose as pled in the indictment

was insufficient, the government repeatedly attempts to recast Defendant's

argument as a challenge to the structure of the RICO organization. Defendant's

RICO challenge has nothing to do with the structure of Defendant's organization. It

is well established that an enterprise can have either a legal or illegal structure. But

a RICO enterprise cannot exist without its members sharing a common purpose to

engage in a particular course of fraudulent or illegal conduct irrespective of

whether the so-called enterprise has a formal or informal structure. The

government recognized that it was required to prove that the members of the



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alleged enterprise shared a common illegal or illicit purpose as evidence by the fact

that it pled one in the indictment. To hold otherwise would mean that any rouge

bad actor operating in a legal organization could be prosecuted under RICO. This

scenario stretches the RICO statute beyond and contrary to its purpose.

      The government attempts to distinguish Defendant's authority but repeatedly

succeeds at proving Defendant's contentions. For example, the government argues

that in First Capital Asset Mgmt. v. Satinwood, Inc., 385 F. 3d 159 (2d Cir. 2004),

the alleged common purpose was one grounded in fraud - "to conceal . . . assets

from [] creditors [] [and] the bankruptcy court" - and, thus, this Court necessarily

analyzed whether such a common purpose had been adequately alleged." (Gov. Br.

at 44) The government seems to forget that it too alleged that the common purpose

of the enterprise in this case was to promote the Defendant and his illegal sexual

conduct. Consistent with the government's own argument, this Court should

necessarily analyze whether such a common purpose has been adequately proved.

      The government's attempts to distinguish First Nationwide Bank v. Gelt

Funding, Corp., 820 F. Supp. 89 (S.D.N.Y. 1993) and Moll v. US Life Title Ins.

Co. of New York, 654 F. Supp. 1012 (S.D.N.Y. 1987) similarly fail. In both cases,

the Complaints alleged a common purpose of illegality - just as the government did

in this case. Having charged a common purpose of illegality amongst the so-called

members of the association-in-fact enterprise, the government was required to



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prove that common purpose of illegality. If the government had not charged a

common purpose of illegal conduct in this case, the Defendant's motion to dismiss

the indictment would have prevailed.

      The government suggests that Satinwood, First Nationwide, and Moll are not

good law because the cases preceded the Supreme Court's decision in Boyle v.

United States, 556 U.S. 928 (2009) in which the Supreme Court held that an

association-in-fact enterprise need only have a "purpose, relationships among those

associated with the enterprise, and longevity sufficient to permit those associate to

pursue the enterprises purpose." (Gov. Br. at 45) Boyle does not help the

government's case.

      In Boyle, the Defendant was charged with a number of bank thefts that were

allegedly conducted by a group of loosely organized individuals operating within a

larger structure. As the Court observed, "[t]he participants in these crimes included

a core group, along with others who were recruited from time to time. . . Each theft

was typically carried out by a group of participants who met beforehand to plan the

crime, gather tools . . . and assign the roles that each participant would play (such

as lookout and driver). The participants generally split the proceeds from the thefts.

The group was loosely and informally organized. It does not appear to have had a

leader or hierarchy. . ." Id at 941. The Supreme Court held that this association-in-

fact qualified as an enterprise for RICO purposes notwithstanding the absence of a



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clear leader. The Court was not presented with the question (nor did it answer)

whether the members of an association-in-fact must share a common purpose to

carry out an illegal course of conduct or whether a single bad actor acting within an

organization can be guilty of RICO.

      Indeed, in Boyle, the association-in-fact's entire purpose was to carry out

bank robberies - a decidedly criminal purpose. If anything, Boyle drives home

Defendant's point that the evidence in this case did not show that the members of

Defendant's musical collective - whether characterized as formal or informal

structure - engaged in conduct demonstrating a shared purpose to carry out an

illegal course of conduct. The government purposefully distorts Defendant's

challenge as one to the structure of the enterprise rather that the purpose of it. If

within the context of a legitimate business (as Defendant's business was) there does

not exist a group of individuals with a shared purpose to engage in a course of

fraudulent or illegal conduct, there simply is no RICO enterprise, even if the head

of that legitimate business is independently engaging in illegal behavior.

      The government points this Court to the language in United States v.

Turkette, 452 U.S. 576 (1981) and D'Addario v. D'Addario, 901 F. 3d 80 (2d Cir.

2018) for the proposition that an association-in-fact enterprise need not have "some

sort of illicit- much less fraudulent - common purpose." (Gov. Br. at 48) The

government did not take this view when it presented it theory of a common



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purpose to the grand jury or even when it offered its jury instructions. In any event,

neither the Turkette nor D'Addario courts were presented with this precise

question, because there was no dispute about whether the common purpose of the

alleged enterprise members were engaged in a criminal or fraudulent course of

conduct. As explained in his opening brief (apparently overlooked by the

government based on footnote 7 of its brief) in Turkette, the Court was tasked with

deciding whether an enterprise could include an entirely illegitimate enterprise. In

its discussion, the Court compared various associations-in-fact that were entirely

criminal in nature with those that were a combination of illegal and legitimate

activities. Turkette did not provide any example of an association-in-fact where its

members shared only a legal purpose. Similarly, in D'Addario, the association-in-

fact enterprise had a legitimate structure in so far as its stated purpose was to settle

the deceased's Estate. But as this Court observed, the defendant and other members

of the enterprise shared a common and unambiguous purpose of carrying out a

fraudulent scheme to steal from the Estate. Id. at 87.

      These cases stand in stark contrast to the instant one. Here, the evidence, at

best, shows that Defendant used unwitting low-level employees to carry out

anodyne tasks that facilitated his own criminality. Indeed, the government has

failed to cite a single case that suggests, let alone holds, that an enterprise is




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established when a single bad actor uses status and authority within an

organization to enable his private misdeeds.

      The government also cites United States v. Cianci, 378 F. 3d 71 (1st Cir.

2004) and United States v. Feldman, 853 F. 2d 648 (9th Cir. 1988) for the

proposition that to establish a RICO enterprise, the government need not show that

a corporation has acted with 'purposeful' or unlawful intent. This argument misses

the mark. Defendant has never suggested that the government's enterprise evidence

was insufficient because his legitimate business entities did not act with an

unlawful intent. Defendant's argument is simply that the government did not prove

that the charged association-in-fact enterprise shared any illicit common purpose.

Neither Cianci nor Feldman hold that association-in-fact enterprise can exist

without its members sharing an illicit common purpose. Indeed, Cianci says the

opposite. There the Court held:


      Municipal entities can be party of an unlawful purpose association-in-fact
      enterprise so long as those who control the entities shared the purposes of
      the enterprise. "RICO does not require intention or 'purposeful' behavior by
      corporations charges as members of an association-in fact." [citation
      omitted] A RICO enterprise animated by an illicit common purpose can be
      comprised of an association-in-fact municipal entities and human members
      when the latter exploits the former to carry out that purpose. (emphasis
      added) Id. at 83.

      The Cianci Court expressly acknowledged that the members of the

association-in-fact enterprise must be motivated by an "illicit common purpose,"



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even if the municipality itself need not act purposefully. As the Court noted, an

association-in-fact enterprise consisting of people and entities can exist when the

people use the organization to carry out their shared illicit common purpose. The

Court did not hold that an association-in-fact enterprise can consist of people

whose only purpose is to carry out a legitimate and legal purpose.

      C.     The Government Did Not Show A Common Purpose of Any

             Illegal Or Illicit Conduct As Charged.

      The government eventually concedes, as it must, that its indictment charged

that the "common purpose" of the RICO enterprise was to "recruit women and girls

to engage in illegal sexual activity with KELLY and to produce pornography,

including child pornography." (Gov. Br. at 50-51) The government generally

claims that it proved this illicit common purpose but almost immediately reverts

back to its faulty legal argument, namely that Defendant's mere use of his

employees for tasks such as driving "female guests" from one location to another,

or providing a woman (of unknown age) Defendant's phone number is sufficient to

show a common purpose of recruiting women for illegal sexual activity and the

production of child pornography.

      The government expressly argues, "[t]he evidence proved that Kelly used his

fame and popularity in the music business, combined with a network of individuals

at his disposal, to target, groom and exploit numerous victims for his own sexual



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gratification." (Gov. Br. at 51) Even accepting this statement as true, it does not

constitute sufficient evidence that the "network of individuals" shared a common

purpose to promote Defendant's illegal sexual conduct.

      The government relies on United States v. Minicone, 960 F. 2d 1099 (2d Cir

1992) for the proposition that the government was only required to prove that the

enterprise's common purpose was to promote Defendant's music and brand, not

Defendant's illegal sexual conduct. The government grossly mischaracterizes the

holding of Minicone, falsely suggesting that Minicone supports its contention that

an enterprise need not have an illegal common purpose if a Defendant merely uses

his underlings to carry out his private misdeeds.

      In Minicone, the defendants were charged for their alleged involvement in a

wide-ranging criminal enterprise that profited from "extortion, loansharking, illegal

gambling, and trafficking in stolen property." Id. at 1103. The defendants

challenged their convictions on the grounds that the racketeering activities were

not sufficiently related to the RICO enterprise, not that evidence of an enterprise

was insufficient. Id. at 1106. Contrary to the government's argument, the court did

not suggest an enterprise exists when a defendant is "enabled to commit the

predicate offenses solely by virtue of his position in the enterprise . . ." Rather, the

court's statement pertained to the vertical nexus requirement between the RICO

enterprise and predicate racketeering acts. It was not a declaration that a RICO



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enterprise can exist even where the members have no common purpose of carrying

out an illegal course of conduct.

      The government spills unnecessary ink on its argument that the predicate

offenses are related to the activities of the enterprise, detailing its evidence of the

"predicate acts". (Gov. Br. at 53) If the government had proved the enterprise as

charged, the government's relatedness claim would be well taken. But as discussed

at length, the government failed to prove an enterprise. There are no predicate

offenses - just stand alone charges that are time-barred.

      The government insists that despite the fact that it charged an illicit common

purpose, it was not required to prove one. Alternatively, the government claims

even if it was required to prove an illicit common purpose, it satisfied its burden

because Defendant's employees knew he mistreated his girlfriends. The

government revives its closing argument, drawing sweeping and unsupported

conclusions about the evidence that borders on misrepresenting the record. Cites to

the record are noticeably lacking and the government seems to rely heavily on the

PSR which is replete with hearsay evidence that was never presented to the jury.

But even if the government's greatly embellished version of the evidence was true,

its evidence showed only that a handful of employees whose employment with the

Defendant was short-lived turned a blind eye to Defendant's occasional

mistreatment of his adult girlfriends.



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      The government writes in its Statement of Facts, and later incorporates into

its argument, that "Kelly and his inner circle assisted Kelly in his professional and

personal life . . . also recruiting and maintaining Kelly's female victims" citing

A447-49; A673; SA1257 (Gov. Br. at pg. 5) Indeed, it is not even clear what the

government means by recruiting and maintaining Kelly's "female victims." But the

testimony to which the government cites to back up this aggrandized narrative is

devoid of facts from which the jury could have fairly concluded that Defendant's

employees shared a common purpose of promoting his illegal sexual activity.

      For example, Navarro did not testify to a single fact from which a rational

juror could conclude that he "recruited or maintained" Defendant's "victims."

Indeed, the prosecutor did not even question Navarro about Defendant's "victims"

who she never identified in any event. Navarro testified to his general

responsibilities as a road manager that included ordering food for Defendant's

"female guests" at the studio and driving them home when asked. In a misleading

fashion, prosecutors repeatedly referred to Defendant's "female guests" when

questioning his former employees knowing that those former employees would

never agree that they knowingly facilitated Defendant's sexual misconduct. But

here, the government asks this Court to just assume that "female guests" means

Defendant's "victims." This Court may not do so. In sum, Navarro did not utter a

single word from which any rational juror could conclude that he and others shared



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a common purpose to ensure Defendant sexually abused women and children or

produced pornography.

      The government also cites to Arnold's testimony as support for its "common

purpose" evidence, claiming that "Kelly's inner circle also assisted Kelly's female

guests in arranging air travel and hotel rooms, allowing them to visit Kelly across

the United States." (Gov. Br. at pg. 6) A review of the citations provided by the

government at A649 shows only that one of Arnold's responsibilities was to make

sure Kelly and his team got to their destinations. Arnold's testimony as cited by the

government is devoid of a single reference to Kelly's victims or girlfriends. The

government takes enormous liberties with this record that borders on

misrepresentations.

      The government claims that evidence of a common purpose was established

because Kelly's inner circle required them to abide by "several rules" including

signing non-disclosure agreements and getting permission for guests to use the

bathroom. The government fails to explain how rules related to non-disclosure

agreements and obtaining permission to use the bathrooms in his studio or house

shows a common purpose to promote Defendant's alleged sex crimes.

      The government cites to testimony from Diana Copeland (A1063) and

Mayweather (A1282) which established nothing more than they were Defendant's

personal assistants who arranged travel for some of Defendant's "female guests"



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(A1063) and that they interacted with Defendant's girlfriends, none of whom were

underage. Copeland never testified that she made travel arrangements for underage

girls or that she was promoting Defendant's illegal sexual activities or production

of child pornography. Mayweather noted that Defendant did not want her

interacting with his girlfriends. It is unclear how this testimony showed a common

purpose to promote Defendant's illegal sexual conduct with women and children.

Furthermore, that Defendant's personal assistants retrieved prescription

medications for him, including Valtrex, does not mean that those assistants had any

reason to know that Defendant was exposing his girlfriends to herpes without their

knowledge in states where it is illegal to do so; it certainly does not establish a

common purpose to promote Defendant's illegal sexual activities.

      The remainder of the government's cited evidence merely shows that

Defendant imposed rules on his employees that were sometimes harsh and that he

sometimes mistreated them. (Gov. Br. at 8) For example, the government makes

much of the fact that Defendant "fined" his employees for not abiding by his rules

and allegedly requiring them to write letters to admit when they had done

something wrong. That Defendant was difficult to work for is not evidence that his

employees shared a common purpose to promote his illegal sexual conduct.

      In sum, the government charged Defendant under RICO alleging that the

purpose of the enterprise was to promote Defendant's illegal sexual conduct. The



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jury instructions set forth that theory and instructed the jury that the government

was required to prove that theory. The government's evidence was insufficient.

      D.     Defendant and the Enterprise Are Not Distinct.

      The government seems to suggest that the distinctness requirement is only

applicable in RICO cases involving corporate entities and that because Defendant

had an "inner circle," the distinctness requirement was satisfied. Not so. The RICO

statute mandates that a person who engaged in a pattern of racketeering activity

must be “employed by or associated with” the enterprise. Satinwood, 385 F. 3d 159

(2d Cir. 20014); Riverwoods Chappaqua Corp. v. Marine Midland Bank, N.A., 30

F. 3d 339, 344 (2d Cir. 1994); Bennett v. U.S. Trust Co. of New York, 770 F. 2d

308, 315 (2d Cir. 1985); Brannon v. Boatmen’s First Nat’l Bank of Oklahoma,

T.B.A., 153 F. 3d 1144, 1146 (10th Cir. 1998). An entity cannot simultaneously be

the enterprise and the person who conducts its affairs; permitting that would be

tantamount to permitting an entity to associate with itself. Bennett, 770 F. 2d at

315; Hirsch v. Enright, 751 F. 2d 628, 633 (3d Cir. 1984); McCullough v. Suter,

757 F. 2d 142, 144 (7th Cir. 1985).

      In its argument, the government doubles down on its claim that a RICO

enterprise exists when the Defendant simply uses "the machinery" of his

organization to enable his sexual misdeeds. By making this claim, the government

simply reads out of the statute any distinctness requirement. If it is the case that a



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RICO enterprise exists when a defendant uses the employees of his own

organization to carry out tasks that facilitate illegal activities, whether it be using

employees to facilitate unlawful sexual conduct or illicit drug use or financial

crimes, the alleged enterprise has no function unrelated to the Defendant. They are

truly one in the same.

      In sum, the government's theory of a RICO enterprise was flawed from the

start. The government's evidence, taken in its best light, showed only that

Defendant employed a collective of people over his 25+ year career who promoted

his career and his music; they did not share an objective to commit sex crimes

against women and girls. Accordingly, the government failed to prove an

enterprise, and Defendant's racketeering conviction must be vacated.

II.   The Government's Evidence Of Intent As to the Mann Act Violations

      Related to Jane and Faith Were Insufficient.

      Defendant relies largely on the arguments contained in his opening brief

concerning the sufficiency of the evidence as to the Mann Act violations related to

Jane and Faith. However, it bears repeating that the government cannot and did not

prove that Defendant's motivating purpose in transporting Jane and Faith to

California and New York was to expose them to herpes in violation of state public

health laws. The District Court got it wrong when it held that the intent element is

satisfied by a general intent to engage in legal sex that could be criminally



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prosecuted for reasons unrelated to the travel. Recognizing the District Court's

flawed analysis, the government attempts to fold the prohibited sexual activity into

the real purpose of the travel, arguing that Defendant's motivating purpose for the

travel was "to engage in unprotected sex in his usual manner, without first

informing her that he had contracted herpes, and obtaining her consent to sexual

intercourse in those circumstances." (Gov. Br. at pg. 61) The government's word

games do not save their argument.

      Defendant's intent in arranging travel for Jane and Faith was not to give

them herpes or expose them to an STD; it was to engage them in sexual activity,

and not necessarily sexual intercourse (the only way to expose them to an STD).

The exposure to herpes was merely incidental to the travel. To hold otherwise

would mean that even if Defendant never went to Faith's hotel room after arranging

for her travel there and never had sex with her, he would still be guilty of violating

the Mann Act for intending to expose her to a sexually transmitted disease. This

absurd result undermines the government's contention. The government's attempt

to avoid its burden of proof by conflating the incidental consequence (exposure to

herpes) into the true purpose of the travel, legal sexual activities, must be rejected.




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III.   Defendant Was Denied A Fair And Impartial Jury Where Several Of

       The Seated Jurors Admitted That They Prejudged The Defendant's

       Guilt and Trial Counsel Provided Ineffective Assistance of Counsel

       When He Failed to Move To Disqualify Patently Unqualified Jurors.

       Contrary to the government's argument, Defendant is not generally

complaining that his trial counsel "could have done more" during voir dire. Rather,

Defendant contends that his counsel's performance was objectively unreasonable

when he did not object to the seating of multiple jurors who: (1) had seen

“Surviving R. Kelly;” (2) were aware of Defendant’s reputation that he “loves little

girls;” and (3) were familiar with his prior legal troubles, including his criminal

prosecution for creating sexually explicit videos with a minor. Had there been even

one juror who had seen “Surviving R. Kelly” seated on Defendant’s jury, his jury

could not be deemed impartial.

       The government minimizes the extraordinary prejudice that Defendant

suffered as a result of his counsel's deficient performance. The government argues

that Defendant cannot demonstrate prejudice, because he cannot show that any

juror had “actual bias.” This record demonstrates that before stepping into the

courtroom, two jurors heard over 360 minutes of victim testimonies, including

graphic accounts of urinating on 14-year-olds. If this type of information does not

lead to the inference that a person will not and cannot act with impartiality, it is



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difficult to imagine what would. A whopping six jurors were familiar with

allegations that Defendant had previously sexually abused minors and had faced

legal consequences for such conduct. The government attempts to trivialize the

prejudice to Defendant, but it is simply beyond debate that Defendant’s jurors

suffered from actual bias.

      Frankly, even if Defendant cannot show “actual bias,” bias should be

presumed here. The United States Supreme Court has observed, “[a] fair trial in a

fair tribunal is a basic requirement of due process. Fairness of course requires an

absence of actual bias in the trial of cases. But our system of law has always

endeavored to prevent even the probability of unfairness . . . To perform its high

function in the best way ‘justice must satisfy the appearance of justice.’” Estes v.

Texas, 381 U.S. 532, 543 (1965). As Chief Justice Taft said in Turney v. Ohio, 273

U.S. 510 (1927):

      The requirement of due process of law in judicial procedures is not
      satisfied by the argument that men of the highest honor and the
      greatest self-sacrifice could carry it on without danger of injustice.
      Every procedure which would offer a possible temptation to the
      average man . . . to forget the burden of proof required to convict the
      defendant or which might lead him not to hold the balance nice, clear
      and true between the State and the accused, denies the latter due
      process of law. Id. at 532.

Indeed, the United States Supreme Court has struck down convictions irrespective

of a showing of actual bias where prejudice is inherent in those convictions. See,




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e.g., Rideau v. Louisiana, 373 U.S. 723 (1963); Turner v. Louisiana, 379 U.S. 466

(1965).

      This is a case where prejudice is inherent in Defendant’s convictions

because fully half of his jury was exposed to highly prejudicial and inadmissible

evidence that invariably interfered with Defendant’s cherished constitutional

safeguards. In the old, but highly instructive case of Marshall v. United States, 360

U.S. 310 (1959), the United States Supreme Court reversed a defendant’s drug

conviction after concluding that exposure of some of the jurors to newspaper

articles was so prejudicial to justify a new trial. Id. During the defendant’s trial,

two newspaper articles got before a substantial number of jurors. Id. at 311. The

news accounts contained information that the defendant had two previous felony

convictions and detailed the circumstances of prior arrests and convictions. Id.

Upon learning that the news accounts had reached the jurors, the trial judge

questioned the jurors about whether they had seen the articles. Id. at 312. Seven of

the jurors had some exposure to the articles, but all assured the trial judge that they

would not be influenced by the news articles and could decide the case on the

evidence in the record. The trial judge denied the defendant’s motion for a mistrial,

finding that there was no prejudice to the defendant. The United States Supreme

Court reversed, finding “[w]e have here the exposure of jurors to information of a

character which the trial judge ruled was so prejudicial it could not be directly



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offered as evidence. The prejudice to the defendant is almost certain to be as great

when that evidence reaches the jury through news accounts as when it is part of the

prosecution’s evidence. It may indeed be greater for it is then not tempered by

protective procedures.” Id. at 312-313.

      Consistent with the teachings of Marshall, Defendant is entitled to a new trial.

Four jurors were exposed to information of a character that was so prejudicial that it

could not be offered into evidence. Indeed, had trial counsel simply moved to

disqualify these jurors, it seems likely that those motions for cause would have been

allowed. Prejudice to the defendant must be presumed given the inflammatory nature

of the information that no average human could put aside. Defendant’s convictions

must be vacated, and a new trial ordered.

      The government's responsive brief does not raise any additional arguments

that are not adequately addressed in Defendant's opening brief.



                                               Respectfully Submitted,

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